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                         IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF KANSAS



  MANETIRONY CLERVRAIN,

                  Plaintiff,



   vs.                                                     Case No. 22-1086-EFM-GEB



  JOE BIDEN, et al.,

                  Defendants.




                                MEMORANDUM AND ORDER

         This matter comes before the Court on Magistrate Judge Gwynne E. Birzer’s Report and

Recommendation (R&R) (Doc. 7) that the Court dismiss Plaintiff’s claims as frivolous and lacking

in any factual support. Judge Birzer also recommends imposing filing restrictions on Plaintiff and

finding as moot Plaintiff’s pending motions. The R&R was mailed to Plaintiff on June 24, 2022.

No objections have been filed to the R&R, and the Court finds that it should be adopted.

         IT IS THEREFORE ORDERED that the R&R (Doc. 7) is adopted in full and as the

Court’s own order, and this case is dismissed.

         IT IS FURTHER ORDERED that Plaintiff be required to obtain leave of Court to initiate

a civil case in this district without representation by an attorney admitted to practice before this

Court.
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        IT IS FURTHER ORDERED that all pending motions (Docs. 3, 4, and 5) are found as

moot.

        IT IS SO ORDERED.

        This case is closed.

        Dated this 12th day of September, 2022.




                                            ERIC F. MELGREN
                                            CHIEF UNITED STATES DISTRICT JUDGE




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